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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       Case No. 3:12-CR-125 JD
                                               )
JUAN GALLARDO (04)                             )

                                               ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on June 3, 2012 [DE 66]. The court does note that the indictment incorrectly

refers to a violation of 18 U.S.C. § 841(a)(1), rather than of 21 U.S.C. § 841(a)(1). But the

typographical error in the Indictment is not of concern to the Court. “An indictment may be

modified, either physically or constructively . . . to correct for a typographical or clerical error or

a misnomer” without resubmission to the grand jury. United States v. Leichtnam, 948 F.2d 370, 376

(7th Cir. 1991). The Plea Agreement properly indicates the statute supporting the charges, and the

offense conduct matches that statute.

       Additionally, the Court notes that the report and recommendation does reference 21 U.S.C.

§ 846, but does not also include a reference to 21 U.S.C. § 841(a)(1), whereas both statutes are

shown violated by the Plea Agreement. Accordingly, the court now ADOPTS the findings and

recommendations as modified to incorporate both statutes of conviction, ACCEPTS defendant

Juan Gallardo’s plea of guilty, and FINDS the defendant guilty of Count 1of the Indictment, in

violation of 21 U.S.C. §§ 841(a)(1) and 846.

       SO ORDERED.

       ENTERED: June 28, 2013



                                                      /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court
